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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA

                                        Alexandria Division

                                                        )
UNITED STATES OF AMERICA
                                                        )
               v.                                       )          The Honorable Liam O’Grady
                                                        )
KIM DOTCOM, et al.,                                     )
                                                        )          Criminal No. 1:12-CR-3
       Defendants                                       )
                                                        )

  ORDER GRANTING MOTION OF THE ROTHKEN LAW FIRM AND CRAIG C.
REILLY, ESQ. FOR LEAVE TO ENTER LIMITED AND SPECIAL APPEARANCE ON
  BEHALF OF MEGAUPLOAD LIMITED TO FILE [PROPOSED] RESPONSE OF
 DEFENDANT MEGAUPLOAD LTD SUPPORTING AND SUPPLEMENTING THE
       RENEWED MOTION FOR PROTECTIVE ORDER BY NON-PARTY
   QTS/CARPATHIA HOSTING, INC. RE MEGAUPLOAD SERVER EVIDENCE

       UPON CONSIDERATION of the motion filed by specially appearing defendant

Megaupload Limited and for the reasons stated in support thereof, it is hereby:

       ORDERED that attorneys the Rothken Law Firm and Craig C. Reilly are granted leave to

enter limited and special appearances on behalf of Defendant Megaupload Limited for the

purpose of filing the [Proposed] Response Of Defendant Megaupload Ltd Supporting And

Supplementing The Renewed Motion For Protective Order By Non-Party Qts/Carpathia

Hosting, Inc. Re Megaupload Server Evidence.

       It is further ORDERED that Defendant Megaupload Limited will not be deemed to have

waived any of its jurisdictional objections by virtue of the filing or arguing of the brief.

       It is further ORDERED that the brief that the above-referenced counsel have proposed

for filing pursuant to their limited and special appearances shall be deemed to have been properly

filed nunc pro tunc on August 24, 2015.
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       It is further ORDERED that, after the Court’s resolution of the brief, counsel entering

limited and special appearances pursuant to this Order may at their option withdraw their

appearances without seeking further approval from this Court.

                      ENTERED this ____ day of ______________, 2015


                                                    _______________________
                                                    Liam O’Grady
                                                    United States District Judge




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